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     Representing the United States of America
 7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA,                       )
                                                     ) Case No. 2:21-cr-00044-JAD-DJA
10                   Plaintiff,                      )
                                                     ) Government’s Response to Defendant’s
11                                                     Sentencing Memorandum (ECF No. 23)
             vs.                                     )
                                                     )
12   REGINALD LEWIS,                                 )
                                                     )
13                   Defendant.                      )
                                                     )
14

15   Certification: This response is timely filed.

16                                           I. Introduction

17          The United States of America submits this brief in response to Defendant Reginald

18   Lewis’ Sentencing Memorandum (ECF No. 23). Lewis’ sentencing hearing is currently

19   scheduled for June 1, 2021.

20          In summary, the government recommends that the Court sentence Lewis at the low

21   end of the advisory Guideline range as determined by the Court. The government further

22   recommends that defendant be subject to home confinement, provided at least one month is

23   satisfied by imprisonment. Finally, the government recommends that restitution in the

24   amount of $71,335.72 be ordered joint and severally liable with the five similarly charged

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 1   defendants. This is consistent with the government’s position in the plea agreement (ECF

 2   No. 19) and such a sentence is sufficient but not greater than necessary to achieve the

 3   sentencing goals under 18 U.S.C. §3553(a).

 4                         II. Relevant Facts and Procedural Background

 5          On May 30, 2020, a large crowd gathered in front of the Foley Federal Building,

 6   located at 333 South Las Vegas Boulevard. PSR ¶9. Several individuals, including Lewis,

 7   broke apart from the crowd and began to damage the building. Id. ¶10. Windows were

 8   shattered, the walls of the building were spray painted with obscenities and anti-law

 9   enforcement graffiti, signs were destroyed, and the landscaping was lit on fire. Id. Lewis,

10   along with others, went to the east entrance of the building and tried to break the windows

11   in an attempt to make entry. Id. An on-duty Federal Protective Service Security Officer,

12   T.W., who was stationed inside, witnessed the damage and attempted break-in. Id. ¶ 11.

13   T.W. stated the crowd outside could see him inside the lobby and they were chanting, “Get

14   him! Get the Cop!” Id. T.W. was in fear of the crowd breaking through the windows and the

15   potential actions against his person if the crowd successfully made entry. Id. Ultimately,

16   police units arrived, and the crowd was dispersed. Id.

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       “Foley Federal Building United States Courthouse” sign with letters torn off and graffiti.
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11                            Damage to front of Foley Federal Building

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13          On February 25, 2021, Lewis pleaded guilty to Depredation Against Property of the

14   United States, in violation of 18 U.S.C. §§ 1361 and 2. ECF No. 20.

15                                          III. Sentencing

16          In conformity with the plea agreement, the government respectfully requests that the

17   Court sentence Lewis to the low end of the Guideline range calculated by the Court. If the

18   Court accepts U.S. Probation’s Office’s current calculation of a Total Offense Level of 10

19   and a Criminal History Category of I, a sentence at the low end of the resulting Guidelines

20   range would be six months imprisonment. PSR at 20.

21          The government further recommends that U.S.S.G. §5C1.1(c)(2) should be applied

22   to Lewis’ sentence so that he may be subject to home confinement according to the schedule

23   in 5C.1.(e)(3), provided at least one month is satisfied by imprisonment. The government

24   believes this sentence would be sufficient, but not greater than necessary, to achieve the

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 1   sentencing goals of 18 U.S.C. §3553(a). While the government recognizes Lewis’ lack of

 2   criminal history, when he joined with others on May 30, 2020, he purposefully destroyed

 3   federal property. PSR ¶115. His willful participation promoted “violence, vandalism, and

 4   destruction” and he should be held accountable for this unlawful behavior. Id. The

 5   requested sentence reflects the seriousness of the offense, as well as the need to promote

 6   respect for the law, deter future criminal conduct, and provide just punishment.

 7                                          IV. Restitution

 8          The damage to the Foley Federal Building was significant, totaling $71,335.52. ECF

 9   No. 19 at 7. Pursuant to the plea agreement, the government recommends that the Court

10   order the full amount of restitution, to be imposed jointly and severally liable with the

11   defendants in: United States v. Wallace, 2:20-cr-289-RFB-VCF; United States v. Kostan, 2:21-cr-

12   81-APG-DJA; United States v. Simon, 2:21-cr-73-JCM-EJY; United States v. Avalos, 2:21-cr-92-

13   JAD-VCF; and United States v. Cherry, 2:21-mj-139-DJA. Restitution is payable to:

14          General Services Administration (GSA)
            Attn: Herb Orrell
15          333 S. Las Vegas Blvd, #5501
            Las Vegas, NV 89101
16

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 1                                         V. Conclusion

 2          The government respectfully requests that this Honorable Court sentence Lewis to the

 3   low end of the Guidelines, allowing Lewis to be subject to home confinement, so long as one

 4   month is satisfied by imprisonment.

 5          DATED this 27th day of May, 2020.

 6                                                    Respectfully submitted,

 7                                                    CHRISTOPHER CHIOU
                                                      Acting United States Attorney
 8
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11                                                    /s/ Kimberly Sokolich
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